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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

TRAVIS NOLAN                   )
                               )
  Plaintiff,                   )
                               )
      v.                       )                    No.    18 cv 01940
                               )
DEVILLE ASSET MANAGEMENT, LTD. )
                               )
      Defendant.               )

                                 MOTION TO WITHDRAW

       NOW COMES the Defendant, Deville Asset Management, LLC, by the undersigned

counsel, Phillip W. Rehani, and moves this Court to withdraw the appearance of Phillip W. Rehani

as counsel for the Defendant pursuant to Local Rule 83.17. In support of this Motion, the

undersigned states as follows:

       1. On June 29, 2019 and July 16, 2018, Attorneys Kevin C. Rasp and Phillip W. Rehani

           of O’Hagan Meyer, LLC filed appearances on behalf of Defendant, Deville Asset

           Management, Ltd., to defend a Complaint filed by Plaintiff, Travis Nolan for alleged

           violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692. (See Dkt. Nos.

           1, 9, and 14).

       2. Attorney Phillip W. Rehani has secured new employment and will no longer be

           employed at O’Hagan Meyer, LLC as of July 26, 2018.

       3. Attorney Kevin C. Rasp will remain as lead trial attorney on behalf of Defendant,

           Deville Asset Management, Ltd.




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       WHEREFORE, Defendant, Deville Asset Management, LLC, by counsel, respectfully

requests this Court to grant leave to withdraw Attorney Phillip W. Rehani as counsel for the

Defendant, along with any other relief this Court deems reasonable and just.

Dated: July 26, 2018

                                                    By: __/s/ Phillip W. Rehani____________
                                                       Counsel for Defendant


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                                CERTIFICATE OF SERVICE

       I hereby certify that, on July 26, 2018, I filed the foregoing with the Court using the Clerk

of Court’s CM/ECF system, which will send electronic notice to all counsel of record:

Attorneys For Plaintiff
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                                             /s/ Phillip W. Rehani
                                             Attorney for DeVille Asset Management, Ltd.




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